                                             Case 2:17-cr-00225-TLN Document 117 Filed 03/11/20 Page 1 of 2


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                                           RICARDO GABRIELE-PLAGE
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                                       8                                 IN THE UNITED STATES DISTRICT COURT

                                       9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      10

                                      11   UNITED STATES OF AMERICA,                           Case No. 2:17-CR-00225-TLN
                                      12                    Plaintiff,
                                                                                               STIPULATION AND ORDER VACATING
                                      13           v.                                          RESTITUTION HEARING AND SETTING
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                                                                               RESTITUTION AMOUNT
                                      14   RICARDO GABRIELE-PLAGE,
                                      15                    Defendants.

                                      16

                                      17           It is hereby stipulated and agreed to between the United States of America through Brian

                                      18   Fogerty, Assistant United States Attorney and defendant Ricardo Gabriele-Plage through his

                                      19   counsel, Kresta Daly, that the restitution hearing currently set for March 12, 2020 be dropped

                                      20   from calendar.

                                      21
                                                   The parties further stipulate that the restitution amount for Mr. Gabriele-Plage should be
                                      22
                                           set at $0.
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                                                STIPULATION AND ORDER                -1-                              [Case No. 2:17-CR-00225-TLN]
                                             Case 2:17-cr-00225-TLN Document 117 Filed 03/11/20 Page 2 of 2


                                       1          IT IS SO STIPULATED.
                                       2   Dated: March 10, 2020                         Respectfully submitted,
                                       3
                                                                              By         /s/ Kresta Nora Daly
                                       4                                                 Kresta Nora Daly
                                                                                         Attorneys for Ricardo Gabriele-Plage
                                       5

                                       6   Dated: March 10, 2020.             By         /s/ Kresta Nora Daly for
                                                                                         Brian Fogerty
                                       7                                                 Assistant United States Attorney
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                                       9

                                      10                                                 ORDER
                                      11                  IT IS SO ORDERED.
                                      12

                                      13
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                      14   Dated: March 10, 2020
                                                                                                    Troy L. Nunley
                                      15
                                                                                                    United States District Judge
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                                               STIPULATION AND ORDER               -2-                               [Case No. 2:17-CR-00225-TLN]
